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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

   ELIZABETH SINES, ET AL.,                          │
                                                     │
                   Plaintiffs,                       │
                                                     │
           v.                                        │ Civil Action No. 3:17-cv-00072
                                                     │
   JASON KESSLER, ET AL.,                            │
                                                     │
                   Defendants.                       │
                                                     │

    DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL, & MICHAEL TUBBS’S
                             EXHIBIT LIST

           COME NOW Defendants League of the South, Michael Hill, and Michael Tubbs, by and

   through Counsel, and state that they intend to introduce at trial the following exhibits:

       1. All exhibits attached to Defendants’ Motion for Summary Judgement.

           Defendants reserve the right to amend this list in light of new information developed

   before or during trial.

                                                         Respectfully submitted,

                                                         /s/ Bryan J. Jones____
                                                         Bryan J. Jones (VSB #87675)
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                                                         Counsel for Defendants Michael Hill,
                                                         Michael Tubbs, and League of the South

                                    CERTIFICATE OF SERVICE




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           I certify the above was served on September 14, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

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                                                       Michael Tubbs, and League of the South




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